Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 1 of 13

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

)
TINA MICHELLE BRAUNSTEIN, )
)
Plaintiff, ) Civil Action No.
)
-against- )
)
SAHARA PLAZA, LLC, and THE ) COMPLAINT
PLAZA HOTEL, a FAIRMONT )
MANAGED HOTEL, ) (Jury Trial Demanded)
Defendants. )
)

 

Plaintiff, TINA MICHELLE BRAUNSTEIN (“Plaintiff”), as and for her
complaint against Defendants, SAHARA PLAZA, LLC (“Sahara”) and THE PLAZA
HOTEL, a FAIRMONT MANAGED HOTEL (the “Plaza”) (collectively “Defendants”)
sets forth and alleges as follows:

JURISDICTION AND VENUE

1. This action is brought for discrimination in employment pursuant to Title
VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§2000e to 2000e-17
(amended in 1972, 1978 and by the Civil Rights Act of 1991, Pub. L. No. 102-166) (race,
color, and national origin) (“Title VII") and because Plaintiff has received a right to sue
letter from the Equal Employment Opportunity Commission (“EEOC”), as well as for
related New York state law claims, under Title 8 of the Administrative Code of the City
of New York (8-107) and New York State Human Rights Law HRL § 3-a.

2. This Court has jurisdiction over the subject matter of this action pursuant

to the aforementioned statutes, as well as 28 U.S.C. §§ 1331 and 1343. Jurisdiction may
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 2 of 13

also be appropriate under 42 U.S.C. §§ 1981, 1983, and 1985(3), as amended by the Civil
Rights Act of 1991, Pub. L. No. 102-166, and any related claims under New York law.

a This Court may also have jurisdiction over the related New York state law
claims herein asserted pursuant to 28 U.S.C. §1367, and applicable principles of pendant
jurisdiction.

4, Venue properly lies in this District pursuant to 28 U.S.C. §1391 (b)(1).

JURY DEMAND

Si Plaintiff demands a trial by jury.

PARTIES

6. At all times hereinafter mentioned, Plaintiff was and still is an individual
residing in the State of New York within this District, with a current residence located at
3845 Sedgwick Avenue, Apt. 14D, Bronx, NY 10463, and is a White woman of Jewish
descent, aged 48.

% Upon information and belief, at all times hereinafter mentioned,
Defendant Sahara was and still is a business entity with offices in and conducting
business in the State of New York, with offices for the transaction of business located at
768 5" Avenue, New York, NY 10019.

8. Upon information and belief, at all times hereinafter mentioned,
Defendant Sahara was and still is a limited liability company residing in the State of New
York, with offices for the transaction of business located at 768 5'" Avenue, New York,
NY 10019.

9. Upon information and belief, at all times hereinafter mentioned,

Defendant Sahara was and still is a domestic corporation residing in the State of New
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 3 of 13

York, and incorporated in the State of New York and registered with the New York
Secretary of State.

10. Upon information and belief, at all times hereinafter mentioned,
Defendant Plaza was and still is a domestic corporation residing in the State of New
York, and incorporated in the State of New York and registered with the New York
Secretary of State

11. | Upon information and belief, at all times hereinafter mentioned,
Defendant Plaza was and still is a business entity with offices for the transaction of
business at located at 768 5" Avenue, New York, NY 10019.

PRELIMINARY STATEMENT

12. During the course of her employment (and continuing until the termination
thereof), Plaintiff was repeatedly subjected to discrimination and harassment based on her
gender and religion. When she complained of this, she was retaliated against and
received further mistreatment. The harassment and retaliation was perpetrated by various
employees of Defendants. Plaintiff reported such harassment to senior management,
including but not limited to, the Human Resources Department of Defendant, who took
no action, and/or failed to properly investigate, and/or take corrective action in response
to Plaintiff's complaints.

13. Defendants knew or should have known of the improper and unlawful
conduct of their agents, representatives, and employees and should have taken timely and
appropriate corrective action. The improper and unlawful conduct and communications

of the Defendants and of their agents, representatives, and employees substantially
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 4 of 13

interfered with Plaintiff's employment and created an intimidating, hostile, and offensive
work environment in violation of Title VII and New York law.

14. Defendants’ failure to investigate and/or take corrective action in response
to Plaintiff's complaints constitutes discrimination based on race and religion, which
culminated in the discriminatory and retaliatory discharge of Plaintiff without cause. As
a direct and proximate result of said unlawful employment practices and disregard for
Plaintiffs rights, Plaintiff has lost and will continue to lose substantial income, including,
but not limited to, wages, social security, fringe benefits and other benefits due to her. As
a further direct and proximate result of said unlawful employment practices, Plaintiff has
suffered the indignity of discrimination, the invasion of her rights to be free from
discrimination and great humiliation which has manifested itself in physical illness and
emotional distress.

15. Defendants’ failure to enforce its tip policy was intentional and deprived
Plaintiff of just compensation.

16. As a result of Defendants’ unlawful conduct, Plaintiff was denied an equal
opportunity to secure the Senior/Lead bartender position because of her gender and
ethnicity, thus entitling Plaintiff to damages as set forth below.

FACTS

17. On or about October 22, 2014, Plaintiff was hired by Defendant Sahara to
work for Defendant Plaza as one of four bartenders to staff the Palm Court Bar in
anticipation of the reopening of the Oak Bar at the Plaza Hotel, allegedly pursuant to a

staffing agreement between Defendant Sahara and the Plaza Hotel.
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 5 of 13

18. Plaintiff was at times complimented about the quality of her work by
certain supervisors and others as well as her extensive experience in the bar industry.

19. Nevertheless, shortly after being hired, Plaintiff noted that she, as the only
woman bartender, was treated differently from the other bartenders. Plaintiff experienced
this discriminatory treatment despite the fact that she was performing her work well.

20. In addition, Plaintiff's mistreatment by male supervisors named Johann
Widnersson, Martin Mariano, and Amin Deroui became particularly troubling for
Plaintiff. At first, they would manifest this different treatment of Plaintiff subtly, by
spending an inordinate amount of time “supervising” Plaintiff's work in comparison to
that of her other male bartenders.

21. ‘Plaintiff received an offer of employment letter on October 21, 2014 from
Defendant Sahara on behalf of the Plaza Hotel. This was followed shortly by a meeting
with Plaza Hotel staff who stated that she was one of four bartenders hired for the Palm
Court and eventually the Oak Bar when it opened. No mention was made of probationary
status.

22. Her training began on October 27, 2014, for two weeks. Plaintiff was told
she would be considered for lead PM or Senior Bartender during training (two weeks).
During new hire orientation on November 4 or 5, 2014 they were given various policies
but no harassment training was provided then or up to Plaintiff's termination.

23. After training was completed and the four bartenders were on rotating
schedules, a new meeting was held with Widnersson, Mariano, Deroui and the bartenders

and cocktail servers to resolve disputes over the distribution of tips There was no
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 6 of 13

resolution of this issue nor any up to the date of Plaintiff's termination on March 13,
2015. This meeting was requested by Plaintiff and the other employees.

24, On November 28, 2014, set schedules were created for the four bartenders,
James Menite, Roberto Rosa and Eddie Marini, and Plaintiff was assigned as lead
bartender for Tuesday and Saturday evenings. At other times, the Plaintiff and Rosa and
Marini rotated as second bartender, service bartender or bar back, which required
cleaning glasses, food containers and stocking supplies and other menial duties.

25. On November 29, 2014, Menite refused any rotations and Plaintiff
complained to Widnersson that she was expected to serve as lead bartender in order to
insure a proper evaluation and she was told “all you do is complain and do not offer any
ideas for the bar.” Plaintiff responded by indicating how her ideas were now bar policy
with examples.

26. On December 2, 2014, Plaintiff, the only woman bartender, was not
notified or invited to a meeting on tip outs which was attended by the other bartenders
and management.

ZT; On December 6, 2014, the day bartender, Edmund was physically and
verbally abusive to Plaintiff, thus preventing Plaintiff from setting up for her shift. This
was reported to Mariano and Human Resources, with only Mariano responding with an
apology.

28. On December 10, 2014, Deroui was verbally abusive in front of customers
as the AM team broke the cash box key and he suggested Plaintiff leave it open as she
was only a glorified “bar back — woman’s work”, the least attractive duties. Later that

same shift, Menite told Plaintiff that he was now Senior/Lead bartender and he was
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 7 of 13

switching schedules with Plaintiff to secure the lucrative Saturday night shift which he
originally did not request. Plaintiff discussed this with Human Resources on December
11, 2014 but there was no follow up.

29. On December 22, 2014, due to persistent verbal abuse, Plaintiff requested
a meeting regarding the schedule and position rotation. At the meeting, Menite refused to
work any position other than Senior/Lead bartender, despite Plaintiffs protest and
experience in the field.

30. _Deroui, the floor manager, who was not at the December 22, 2014 meeting
told Plaintiff to “stop being a baby and running to management, not ladylike.”

Bl On December 25, 2014, Plaintiff emailed her complaints from December
22, 2014 to Widnersson who never replied.

32. Plaintiff received her only evaluation on January 9, 2015. Plaintiff met
with Human Resources to complain about her disparate treatment and poor evaluation.
Human Resources told Plaintiff to ask for a meeting with Mariano and Widnersson.
Mariano called Plaintiff to a meeting but Widnersson did not attend. In response to
Plaintiff's complaints, Mariano stated “you are a bitch, what do you expect.”

33. On January 29, 2015 Deroui stated in Plaintiff's presence “what do you
expect, Jews own all the media and the banks.” Plaintiff is Jewish.

34. On February 7, 2015, Plaintiff emailed Mariano at the suggestion of
manager James Netzel concerning the inappropriate behavior and then Deroui verbally
abused Plaintiff with further derogatory remarks about her gender.

35. On February 20, 2015, Mariano and Rosa started speaking only Spanish in

front of Plaintiff and about Plaintiff in derogatory terms.
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 8 of 13

36. During the remainder of February and early March, Rosa and Marini were
persistently late or no shows without any reprimand.

37. On March 11, 2015, Plaintiff was instructed to prepare cocktails for the
Ketel One event when Menite told her only he “creates cocktails and he will get Plaintiff
fired,”

38. On March 13, 2015, Plaintiff was terminated while Menite, Marini and
Rosa were maintained.

39, Plaintiff thereafter filed a charge with the EEOC regarding Defendants’
alleged discriminatory conduct. On or about August 15, 2016, the EEOC issued a
Dismissal and Notice of Rights and mailed a right to sue letter to Plaintiff (a true and
correct copy of which are annexed hereto as Exhibit 1). Upon information and belief,
Plaintiff received the right to sue letter on or after August 18, 2016.

AS AND FOR A FIRST CAUSE OF ACTION
(Discrimination)

40. Plaintiff repeats and realleges each and every allegation contained in the
preceding paragraphs of this Complaint as if set forth at length herein.

41. The actions of Defendants as set forth herein constitute discrimination on
the basis of gender and ethnicity, in violation of Title VII and New York law.

42. Asaresult of Defendants’ unlawful conduct, Plaintiff has suffered and
continues to suffer loss of income, loss of employment benefits, and has suffered stress,
mental anguish, humiliation, damage to her reputation and other damages, including but
not limited to, attorneys’ fees, interest, costs and disbursements, in an amount to be

determined at trial.
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 9 of 13

AS AND FOR A SECOND CAUSE OF ACTION
(Hostile Work Environment)

43. Plaintiff repeats and realleges each and every allegation contained in the
preceding paragraphs of this Complaint as if set forth at length herein.

44. The actions of Defendants as set forth herein created an intimidating,
hostile and offensive work environment in violation of Title VII and New York law.

45.  Asaresult of Defendants’ unlawful conduct, Plaintiff has suffered and
continues to suffer loss of income, loss of employment benefits and has suffered stress,
mental anguish, humiliation, damage to her reputation and other damages, including but
not limited to, attorneys’ fees, interest, costs and disbursements, in an amount to be

determined at trial.

AS AND FOR A THIRD CAUSE OF ACTION
(Retaliation)

46. Plaintiff repeats and realleges each and every allegation contained in the
preceding paragraphs of this Complaint as if set forth at length herein.

47. The actions of Defendants as set forth herein constitute retaliation against
Plaintiff, in violation of Title VII and New York law.

48. As aresult of Defendants’ unlawful conduct, Plaintiff has suffered and
continues to suffer loss of income, loss of employment benefits and has suffered stress,
mental anguish, humiliation, damage to her reputation and other damages, including but
not limited to attorneys’ fees, interest, costs and disbursements, in an amount to be

determined at trial.
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 10 of 13

AS AND FOR A FOURTH CAUSE OF ACTION
(Negligent Supervision)

49, _ Plaintiff repeats and realleges each and every allegation contained in the
preceding paragraphs of this Complaint as if set forth at length herein.

50. Defendants had a legal duty to provide a safe workplace.

51. Defendants failed to reasonably supervise their employees.

52. Defendants and their management knew or should have known of the
undue harm to which they were exposing Plaintiff.

53. | Defendants knew or should have known that Plaintiff would be
continually exposed to undue harm in view of Plaintiff's complaints (and complaints
made formally and informally by other employees) about pervasive, offensive and
discriminatory conduct on the basis of race and/or national origin Defendants’ were
aware of or should have been aware of ongoing retaliatory conduct, including terminating
employees who made good faith complaints of discrimination.

AS AND FOR A FIFTH CAUSE OF ACTION
(Violation of NYC HRL)

54. Plaintiff repeats and realleges each and every allegation contained in the
preceding paragraphs of this Complaint as if set forth at length herein.

55. The Defendants, based on the above facts, violated not only their own
Discrimination and Harassment Policy but also New York State Human Rights Law §
296(3)(a) in that Defendants, by intentional act or omission, failed to act on Plaintiff's
claims of discrimination, harassment and hostile work environment.

56. As aresult of Defendants’ unlawful conduct, Plaintiff has suffered, and

continues to suffer, pecuniary damages, loss of benefits and has suffered stress, anxiety

10
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 11 of 13

and humiliation with damage to her reputation, including but not limited to her attorneys’
fees. interest, costs and disbursements in amounts to be determined at trial.
AS AND FOR A SIXTH CAUSE OF ACTION
(Violation of NYCHRL Title 8 of the
Administrative Codeof the City of New York § 8-107)

57. Plaintiff repeats and realleges each and every allegation contained in the
preceding paragraphs of this Complaint as if set forth at length herein.

58. The Defendants, based on the above facts, violated not only their own
Discrimination and Harassment Policy but also New York State Human Rights Law §
296(3)(a) in that Defendants, by intentional act or omission, failed to act on Plaintiff's
claims of discrimination, harassment and hostile work environment.

59.  Asaresult of Defendants’ unlawful conduct, Plaintiff has suffered, and
continues to suffer, pecuniary damages, loss of benefits and has suffered stress, anxiety
and humiliation with damage to her reputation, including but not limited to her attorneys'
fees, interest, costs and disbursements in amounts to be determined at trial.

AS AND FOR A SEVENTH CAUSE OF ACTION
(Violation of 29 USC 621, et al. Age Discrimination)

60. Plaintiff repeats and realleges each and every allegation contained in the
preceding paragraphs of this Complaint as if set forth at length herein.

61. The Plaintiff was terminated from her position with Defendantd on March
13, 2015 at age 47 and is a member of the protected class. She was replaced by a much
younger woman in violation of the statute.

62. As aresult of Defendants’ unlawful conduct, Plaintiff has suffered, and

continues to suffer, pecuniary damages, loss of benefits and has suffered stress, anxiety

11
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 12 of 13

and humiliation with damage to her reputation, including but not limited to her attorneys’
fees, interest, costs and disbursements in amounts to be determined at trial.
WHEREFORE, Defendants’ actions in engaging in the unlawful, discriminatory,
and retaliatory conduct detailed herein were willful, wanton, and illegal, thus justifying
an award of punitive damages and attorneys’ fees.
WHEREFORE, the Plaintiff, demands judgment against Defendants, jointly and
severally, on each cause of action asserted in this Complaint, as follows:
1. Awarding Plaintiff compensatory damages in an amount to be determined at
trial, but not less than $250,000.00;
2. Awarding Plaintiff punitive damages in amounts to be determined at trial, but
not less than $750,000.00;
3. Awarding pre judgment interest;
4. Awarding attorneys fees and costs on all causes of action;
5. Awarding such other and further relief as this Court may deem just and proper
in the circumstances.

Dated: November 14, 2016
Mineola, NY

RAISER & KENNIFF, P.C.

a, i = ‘
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Attorneys for Plaintiff

12
Case 1:16-cv-08879-VSB Document1 Filed 11/15/16 Page 13 of 13

VERIFICATION

STATE OF NEW YORK _ )
) 88.:
COUNTY OF )

TINA MICHELLE BRAUNSTEIN, being duly sworn deposes and says: I am the
Plaintiff in the within action, and I have read the foregoing VERIFIED COMPLAINT, I know

the contents thereof, and I acknowledge that the contents thereof are true to my own knowledge.

Subd fe 7

TINA MICHELLE BRAUNSTEIN

Sworn to me before this
14" day of November, 2016

otary Public

CHRISTINE MEEHAN
NOTARY PUBLIC, State of New York
No. 01ME6226144
Qualified in Nassau County 1D
Gommission Expires August 02, 20" _*
